Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.190 Filed 05/03/19 Page 1 of 27




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

GEORGINA WILLIAMS,
                                             Case No. 2:18-cv-11613
              Plaintiff,                     Hon. Stephen J. Murphy, III

u
                                             Oakland County Circuit Court Case
OUTBACK STEAKHOUSE OF                        No. 18-165415-NO
FLORIDA,LLC,

                                             ORAL ARGUMENT REQUESTED

              Defendant.

 STEVEN A. LEE(P77013)                      DAVID J. YATES (P49405)
 CHRISTOPHER K. COOKE(P35034)               ERIC P. CONK(P64500)
 NEUMANN LAW GROUP                          STEPHANIE B. BURNSTEIN(P78800)
 Attorney for Plaintiff                     SEGAL McCAMBRIDGE SINGER &
 300 E. Front Street, Ste. 445              MAHONEY
 Traverse City, MI 49684                    Attorneys for Defendant
(231)221-0050                               39475 Thirteen Mile Road, Suite 203
 Steve _,neumannlaw~roup.com                Novi, MI 48377
 chris(a,neumannlaw~roup.com                (248)994-0060 (248)994-0061 [Fax]
 ruth(a~neumannlawgroup.com                 day tes(c~smsm.com econn(a~smsm.com
                                            sburnstein(a,smsm.com

      DEFENDANT OUTBACK STEAKHOUSE OF FLORIDA LLC'S
             MOTION FOR SUMMARY JUDGMENT

      NOW COMES Defendant, Outback Steakhouse of Florida LLC, by and

through its attorneys, David J. Yates, Eric P. Conn, Stephanie B. Burnstein and Segal

McCambridge Singer &Mahoney,and for its Motion for Summary Judgment states

as follows:
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.191 Filed 05/03/19 Page 2 of 27




          1. This premises liability matter arises out of an alleged slip and fall that

occurred on February 19, 2017 in the Outback Steakhouse Restaurant located in

South~tield, Michigan.(Exhibit A, Complaint)

          2. Plaintiff claims to have sustained injuries when "she slipped and fell on

an overly-waxed and slippery floor" in the subject restaurant.(Exhibit A,Complaint,

p• 2)

          3. Plaintiff brought this lawsuit against the Defendant claiming premises

liability, negligence and nuisance.(Exhibit A)

         4. Applying substantive Michigan law to the present case, all ofPlaintiff's

claims fail for various reasons.

          5. First, Plaintiff's claim of premises liability fails as Defendant had no

notice of the condition Plaintiff claims caused her to slip and fall.

         6. To establish a claim ofpremises liability, Plaintiff must be able to prove

the premises possessor had actual or constructive notice of the allegedly dangerous

condition at issue. Riddle v. McLouth Steel Prod. Corp.,440 Mich App 85, 93,485

NW2d 676 (1992).

          7. Moreover, where there is no evidence to demonstrate how long a

condition has been on the land, the premises owner cannot be found liable for

damages. Whitmore v Sears Roebuck &Company,89 Mich App 3; 279 NW2d 318

(1979)


                                           2
 Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.192 Filed 05/03/19 Page 3 of 27




          8. There is no admissible evidence in this matter to demonstrate that the

Defendants had notice of the alleged condition or how long the alleged condition

was present.

          9. Defendant's restaurant manager testified that the restaurant does not

"wax" its floors.(Exhibit C, Deposition of Toriano Vancobb)

          l O.As such,Plaintiff's allegation that the floors were "overly-waxed" fails.

          1 1.Additionally, Plaintiff testified that until her fall, she had no issues

walking on the floor ofthe restaurant in her heels.(Exhibit B,Deposition ofPlaintiff,

p. 36)

          12.Furthermore, Plaintiff testified that she saw no other employees or

customers fall during her visit at the restaurant.(Exhibit B, p. 37-38)

          13.Plaintiff additionally claimed that it was simply the floor itself that

caused her to fall with no substance present on the floor.(Exhibit B, p. 38)

          14.Plaintiff further admitted that she was unaware if any of the employees

ofthe restaurant had notice that the floor was slippery prior to her fall and was further

aware of how long the floor had been slippery prior to her fall.(Exhibit B, p. 41-42)

          15.The members of Plaintiff's party and the Defendant's restaurant

manager further confirmed that there was no difference between the lobby floor,

where Plaintiff had no issues walking, and the dining room floor where Plaintiff's




                                           3
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.193 Filed 05/03/19 Page 4 of 27




fall occurred. (Exhibit C, Deposition of Toriano Vancobb, p. 19-20; Exhibit D,

Deposition of Doreen Aye, p. 11; Exhibit G,Deposition ofPearl Williams, p. 10)

          16.Members of Plaintiff's party also denied having any difficulty walking

on the floor where Plaintiff's fall occurred.(Exhibit D, Deposition of Doreen Aye,

p. 12, 13; Exhibit G, Deposition ofPearl Williams, p. 11)

          17.Members of Plaintiff's party also were unable to state whether the

restaurant was aware that the floor was "slippery" prior to Plaintiff's fall. (Exhibit

D, Deposition of Doreen Aye, p. 14; Exhibit E, Deposition of Rhoda Griffin, p. 18;

Exhibit F, Deposition of Carol Robinson, p. 12)

          18.Additionally, no one in Plaintiff's party slipped or fell despite walking

on the same allegedly "slippery" floor.(Exhibit D,Deposition ofDoreen Aye, p. 12,

13; Exhibit E, Deposition of Rhoda Griffin, p. 16; Exhibit F, Deposition of Carol

Robinson, p. 11, 13; Exhibit G, Deposition ofPearl Williams, p. 11)

          19.Monica Smith, the restaurant manager on duty at the time of the

incident, testified that she had received no prior complaints of slips or falls due to

the "slipperiness" of the floor. (Exhibit H, Deposition of Monica Smith, p. 65; 82;

83)

         20.Toriano Vancobb, the managing partner of the restaurant further

confirmed that the floor of the restaurant had not been changed or remodeled in any

way since 2011 or 2012.(Exhibit C, p. 18)
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.194 Filed 05/03/19 Page 5 of 27




          21. Mr. Vancobb also confirmed that, until Plaintiff's fall, he had received

no prior complaints about the restaurant floor being slippery. (Exhibit C, p. 44, 53-

54)

          22.A host on duty at the time of the incident, Myles Jones, also confirmed

that he had received no complaints that the floor of the restaurant being slippery

prior to Plaintiff's fall.(Exhibit I, Deposition of Myles Jones, p. 7-8)

          23.As such, not only is there no evidence that the restaurant floor was

slippery, there certainly is no evidence that the Defendant had notice that the floor

was slippery as Plaintiff alleges in her complaint, and thus her complaint must be

dismissed.

          24.Additionally, as Plaintiff has retained no experts to opine as to the

slipperiness of the floor oi- the alleged reason for same, Plaintiff's claim is based on

pure improper speculation as she is unable to identify the cause of her fall. (Exhibit

J, Plaintiff's Expert Witness List; Exhibit K,Plaintiff's discovery responses, p. 6)

          25.Michigan law and the Federal Rules of Evidence precludes the

Plaintiffs from offering speculative evidence that is unfounded in factual support.

FRE 602; Skinner v Square D Co., 445 Mich 153 (1994).

          26.As Plaintiff has been unable to identify the reason for her slip and fall

beyond mere speculation unsupported by the evidence, summary judgment must be

granted in favor of the Defendant.


                                           E
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.195 Filed 05/03/19 Page 6 of 27




          27.Furthermore, Plaintiff has alleged improper counts of negligence and

nuisance against the Defendant. However, these claims similarly fail and must be

dismissed.

          28.With regard to Plaintiff's claim of negligence, as the Plaintiff's injury

arises out of an alleged condition present on the Defendant's property, Plaintiff's

claim is clearly one based upon premises liability. Stitt v Holland Abundant Life

Fellowship, 462 Mich 591, 597 (2000).

         29.Furthermore, Plaintiff cannot couch a premises liability claim as one

for negligence as it is improper. Indeed, "[t]his Court is not bound by a party's

choice of labels for his or her action because this would put form over substance."

Kostyu v Department ofTreasury, 170 Mich App. 123, 129; 427 NW2d 566(1988).

Also, allowing Plaintiff to frame their theory through mislabeling would improperly

enable her to avoid dismissal through artful pleading. Norris v Lincoln Park Police

Officers, 292 Mich App. 574; 808 NW2d 578 (2011).

          30.Therefore, this Honorable Court must examine the essence of the

Plaintiff's cause of action by looking "beyond the procedural labels in the complaint

and determine the exact nature of the claim." Norris, supra, citing, MacDonald v

Barbarotto, 161 Mich App 542; 411 NW2d 747 (1987). Here, all of Plaintiff's

allegations deal with an alleged slippery floor in the Defendant's restaurant and thus,

amount to nothing more than premises liability averments.


                                          D
 Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.196 Filed 05/03/19 Page 7 of 27




           31.Where a plaintiff's injury arises out of a condition present on a

defendant's land, the action is one of premises liability and not ordinary negligence,

even when the plaintiff alleges that the defendant created the condition. Buhalis v.

Trinity Continuing Care Servs., 296 Mich. App.685; 822 NW2d 254(2012); Jahnke

v. Allen, 308 Mich. App. 472; 865 NW2d 49(2014).

           32.Accordingly, the traditional defense of a lack of notice applies to both

Plaintiff's claim ofpremises liability and her improperly named claim of negligence

and both claims must be dismissed.

           33. Finally, Plaintiff has no admissible evidence to support her claim of

nuisance.

            34. A public nuisance is an unreasonable interference with a common right

enjoyed by the general public. Wagner v Regency Inn Corp., 186 Mich App 158

(1990).

           35.There is no evidence that the alleged "slippery floor" that resulted in no

other customers or employees slipping and falling created an unreasonable risk of

danger or interfered with a common right enjoyed by the general public.

           36.As such, summary judgment of Plaintiff's claim of nuisance must be

granted.

           37.Pursuant to Federal Rule 56, where there is no genuine dispute as to

any material fact, summary judgment in favor of the moving party is required.


                                           7
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.197 Filed 05/03/19 Page 8 of 27




          38. Defendant has requested that Plaintiff concur with the relief requested

pursuant to Local Rule 7.1 but Plaintiff declined to do so.

      WHEREFORE, the Defendant, Outback Steakhouse of Florida LLC

respectfully requests that this Honorable Court grant its motion for summary

judgment pursuant to Federal Rule 56, dismiss the Plaintiff's case in its entirety and

award any other relief that is appropriate and just under the circumstances.



                                 SEGAL McCAMBRIDGE SINGER & MAHONEY

                                       By: /s/ Stephanie B. Burnstein
                                          DAVID J. YATES(P49405)
                                          ERIC P. CONK(P64500)
                                            STEPHANIE B. BURNSTEIN (P78800)
                                           Attorneys for Defendants
                                           29100 Northwestern Hwy, Suite 240
                                           Southfield, MI 48034
Dated: May 3, 2019                         (248)994-0060
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.198 Filed 05/03/19 Page 9 of 27




                                                Table of Contents

Index of Authorities .................................................................................. ii

Index of Exhibits ....................................................................................... iii

Controlling Authorities ............................................................................. iv

Questions Presented .................................................................................. v
Introduction ............................................................................................... 1

Statement of Facts ..................................................................................... 2

Standard of Review ................................................................................... 4

Argument................................................................................................... 5

              I. State Substantive Law Applies to the Defendant's
                 Motion for Summary Judgment............................................. 5

             II. Defendants Had No Notice of the "Slippery Floor"
                  Plaintiff Alleges Caused Her Fa11 ...........................................6

             III. Plaintiff's Claim is Based on Pure Speculation
                  And Not Admissible Evidence, Thus
                  Warranting Summary Disposition .........................................8

             N. Plaintiff's Claim of Negligence is Only
                A Premises Liability Claim ....................................................11

               V. Plaintiff's Claim of Nuisance is Unsupported
                   By Admissible Evidence .......................................................11


Conclusion &Relief Requested ................................................................ .12
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.199 Filed 05/03/19 Page 10 of 27




                                          Index of Authorities


Case Law
Anderson v Liberty Lobby, Inc., 477 US 242; 106 Sct 2505 (1986).................5
Anderson v Merkel, 393 Mich 603, 227 IVW2d 554(1975).............................6
Berryman v K-Mart Corp, 193 Mich App 88,483 NW2d 642(1992).............6
Buhalis v. Trinity Continuing Care Servs., 296 Mich. App. 685;
    822 NW2d 254(2012)...............................................................................11
Celotex Corp. v Catrett, 47 US 317; 106 SCt 2548 (1986).............................. 4-5
City ofCleveland v. Ameriquest Mortg. Sec., Inc., 615 F.3d 496,
  (6th Cir. 2010) ............................................................................................5
Gadde v Michigan Consolidated Gas Company,377 Mich 117,
   139 NW2d 722(1966).................................................................................7
Hampton v Waste Management ofMichigan, Inc, 236 Mich App 598,
   601 NW2d 172(1999).................................................................................6
Hobrla v Glass, 143 Mich App 616, 372 NW2d 630(1985).....................12
Howe v. Michigan C.R.P., Co., 236 Mich. 577(1926).....................................8
Jahnke v. Allen, 308 Mich. App. 472; 865 NW2d 49(2014)........................... 11
Kaminski v. Grand Trunk W.R. Co., 347 Mich. 417(1956)..............................9
Matsushita Electric Indus. Co. v Zenith Radio Corp., 475 US 574;
   106 SCt 1348 (1986)....................................................................................5
Quinto v Cross &Peters Co., 451 Mich 358, 362(1996)................................8
Rupert v. Daggett,695 F.3d 417(6th Cir. 2012)...............................................5,6
Savedoffv. Access Group, Inc., 524 F.3d 754(6th Cir. 2008).........................5
Skinner v. Square D Company 445 Mich. 153 (1994)........................ 8, 9, 10
Suci v Minsky, 61 Mich App 398, 232 NW2d 417(1975)................................6
Verbabian v S & C Snowplowing Inc, 249 Mich App 695,
    644 NW2d 779(2002)...............................................................................6
Wagner v. Regency Inn Corp., 186 Mich App 158, 463 NW2d 450 (1990).....12
Wheeler v Shelby Twp., 265 Mich App 657(2005)..........................................8
Whitmore v Sears Roebuck &Company,89 Mich App 3,
    379 NW2d 318(1979) ...............................................................................6,7
Ypsilanti Charter Twp. v Kircher, 281 Mich App 251, 761 NW2d 761 (2008)..12

Court Rules
Fed. R. Civ. P. 56........................................................................4




                                                        ii
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.200 Filed 05/03/19 Page 11 of 27




                                Index of Exhibits

   A. Plaintiff's Complaint

   B. Deposition of Plaintiff

   C. Deposition of Toriano Vancobb

   D. Deposition of Doreen Aye

   E. Deposition of Rhoda Griffen

   F. Deposition of Carol Robinson

   G. Deposition of Pearl Williams

   H. Deposition of Monica Smith

   I. Deposition of Myles Jones

   J. Plaintiff's Expert Witness List

   K. Plaintiff's Discovery Responses




                                        iii
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.201 Filed 05/03/19 Page 12 of 27




                              Conti•ollili~ Authorities

      In support ofits motion for- summary judgment, the Defendant relies upon the

following, controlling authorities:

             Federal Rule of Civil Procedure 56

            Berryman v KMart Corp., 193 Mich App 88; 483 NW2d 642,646
            (1992)

             Buhalis v. Ti^inity Continuing Care Sews., 296 Mich. App.685; 822
             NW2d 254(2012)

             Skinner v. Square D Company 445 Mich. 153(1994)

             Whitmore v Sears Roebuck &Company,89 Mich App 3, 379 NW2d
             318(1979)

             Wagner v. Regency Inn Corp., 186 Mich App 158, 163, 463 NW2d
             450(1990).




                                         iv
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.202 Filed 05/03/19 Page 13 of 27




                              Questions Presented

      I.     Whet•e the Defendant had no notice of the condition Plaintiff
             alleges caused hei• fall, is summary judgment required?

             Defendant answers,"Yes."
             Plaintiff presumably answers,"No."


      II.    Where the Plaintiffs allegation of the cause of her slip and
             fall is based on improper speculation unsupported by any
             admissible evidence, is summary judgment required?

             Defendant answers,"Yes."
             Plaintiff presumably answers,"No."


      III.   Where Plaintiff improperly disguised a simple premises
             liability claim as a separate negligence claim, is summary
             judgment required?

             Defendant answers,"Yes."
             Plaintiff presumably answers,"No."

      IV.    Where Plaintiffs claim of nuisance is unsupported by the
             evidence, is summary judgment required?

             Defendant answers,"Yes."
             Plaintiff presumably answers,"No."
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.203 Filed 05/03/19 Page 14 of 27




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

GEORGINA WILLIAMS,
                                              Case No. 2:18-cv-11613
             Plaintiff,                       Hon. Stephen J. Murphy, III

►v
                                              Oakland County Circuit Court Case
OUTBACK STEAKHOUSE OF                         No. 18-165415-NO
FLORIDA, LLC,

             Defendant.

 STEVEN A. LEE (P77013)                      DAVID J. YATES (P49405)
 CHRISTOPHER K. COOKE (P35034)               ERIC P. CONK (P64500)
 NEUMANN LAW GROUP                           STEPHANIE B. BURNSTEIN (P78800)
 Attorney for Plaintiff                      SEGAL McCAMBRIDGE SINGER &
 300 E. Front Street, Ste. 445               MAHONEY
 Traverse City, MI 49684                     Attorneys for Defendant
 (231) 221-0050                              39475 Thirteen Mile Road, Suite 203
 steve(a~neumannlaw~roup.com                 Novi, MI 48377
 chris(c~neumannlawgroup.com                 (248) 994-0060 (248) 994-0061 [Fax]
 ruth ,neumannlaw~roup.com                   dyates(a~smsm.com econn(o,smsm.com
                                             sburnstein(a~smsm.com

     BRIEF IN SUPPORT OF DEFENDANT OUTBACK STEAKHOUSE OF
         FLORIDA LLC'S MOTION FOR SUMMARY JUDGMENT


                                   Introduction

       This premises liability matter arises out of a February 19, 2017 incident in

which Plaintiff alleges when "she slipped and fell on an overly-waxed and slippery

floor" in Outback Steakhouse Restaurant located in Southfield, Michigan. However,

Plaintiff's claim fails for a variety of reasons. First and foremost, Plaintiff has not
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.204 Filed 05/03/19 Page 15 of 27




established that the Defendant had notice of the alleged "slippery floor" prior to her

fall. In fact, Plaintiff has failed to identity or even allege what caused the floor to be

"slippery". Indeed, Plaintiff's entire claim ofliability against the Defendant is based

on pure, improper speculation and thus, fails. Furthermore, Plaintiff has asserted an

improper claim of"negligence" in addition to the premises liability claim, despite

the claims being one in the same and both failing due to improper speculation and a

lack of notice. Finally, Plaintiff's claim of nuisance is completely without merit or

evidentiary support. As such, summary judgment in favor of the Defendant should

be granted.

                                  Statement of Facts

       On February 19, 2017, Plaintiff presented to the Outback Steakhouse

Restaurant in Southfield, Michigan with her family for dinner. (Exhibit B,

Deposition of Plaintiff, p. 32)The party entered the restaurant without incident and

waited in the lobby area of the restaurant without incident. (Exhibit B, p. 34) Once

a table was ready, the party began to walk to the table. (Exhibit B, p. 34) Plaintiff,

who was wearing heels, slipped and fell.(Exhibit B, p. 34)Plaintiff claimed that the

"slippery floor" caused her fall. (Exhibit B, p. 38) Plaintiff denied that there was

anything on the floor.(Exhibit B, p. 38)

       No one else in Plaintiff's party slipped or fell on the allegedly "slippery floor."

(Exhibit D, Deposition of Doreen Aye, p. 12, 13; Exhibit E, Deposition of Rhoda


                                            2
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.205 Filed 05/03/19 Page 16 of 27




Griffin, p. 16; Exhibit F, Deposition of Carol Robinson, p. 11, 13; Exhibit G,

Deposition of Pearl Williams, p. 11) Additionally, several of the members of

Plaintiff's party denied that they had any trouble walking on the allegedly "slippery

floor." (Exhibit D, Deposition of Doreen Aye, p. 12, 13; Exhibit G, Deposition of

Pearl Williams, p. 11)

       Despite Plaintiff's claim in her complaint that the floors were "overly waxed,"

Defendant's restaurant manager testified that the restaurant does not even "wax" its

floors. (Exhibit C, Deposition of Toriano Vancobb, 25-26) Additionally, Plaintiff

has provided no evidence that the Defendant was aware of any allegedly "slippery

floor" prior to her fall. In fact, Plaintiff admitted that she was unaware if any of the

employees of the restaurant had notice that the floor was slippery prior to her fall

and was further aware of how long the floor had been slippery prior to her- fall.

(Exhibit B, p. 41-42)

       Employees of the restaurant confirmed a lack of notice of any allegedly

"slippery floor." Monica Smith, the restaurant manager- on duty at the time of the

incident, testified that she had received no prior complaints of slips or falls due to

the "slipperiness" of the floor. (Exhibit H, Deposition of Monica Smith, p. 65; 82;

83) Toriano Vancobb, the managing partner of the restaurant further testified and

confirmed that the floor ofthe restaurant had not been changed or remodeled in any

 way since 2011 or 2012.(Exhibit C, p. 18) Mr. Vancobb also confirmed that, until


                                           3
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.206 Filed 05/03/19 Page 17 of 27




Plaintiff's fall, he had received no complaints about the restaurant floor being

slippery. (Exhibit C, p. 44, 53-54) In fact, Mr. Vancobb testified that any slip and

falls that occurred at the subject restaurant were not associated with any complaints

that the floor itself was slippery:

      Q. Okay. And then, again,I just want to clear up the record here, make
      sure we have a clear understanding. Prior to February 2017 when
      Miss Williams fell, were you aware of any customers complaining
      that the floors themselves were slippery?

      A. No. Not like -- just the occasional -- like I said, the other day a lady
      came in with stilettoes and it was raining outside. That's more about
      her shoe choice and the rain than our floors being slippery.

      Q. But, again, nothing before?

      A. No.

      Q. And before Miss Williams fell did any employees complain
      regarding the floor being slippery?

       A. No.

      (Exhibit C, p. 53, emphasis added)

      Finally, Myles Jones, a restaurant host working at the time of the incident,

confirmed that he had received no complaints that the floor of the restaurant was

slippery prior to Plaintiff's fall. (Exhibit I, Deposition of Myles Jones, p. 7-8)

                                 Standard of Review

      Federal Rule 56 is properly invoked where the movant seeks dismissal based

upon an absence of a material question of fact. The moving party has an initial
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.207 Filed 05/03/19 Page 18 of 27




burden of demonstrating that no material question of fact exists. Celotex Copp. v

Catrett, 47 US 317; 106 SCt 2548(1986). Where the moving party meets its burden

under Rule 56 to demonstrate the lack of a material question offact, the non-moving

party must present specific facts showing that there is a genuine issue for trial.

Matsushita Electric Indus. Co. v Zenith Radio Corp., 475 US 574; 106 SCt 1348

(1986). To do so, the non-moving party must produce sufficient evidence upon

which a jury could reasonably find for him. Anderson v Liberty Lobby,Inc., 477 US

242; 106 Sct 2505 (1986). A "scintilla of evidence" is insufficient. Id.

                                    Ai•~ument

   I. State Substantive Law Applies To The Motion foi- Sunimaty Judgment

      Diversity actions that are brought in Federal Court generally must apply

federal procedural rules and the forum state's substantive law. Rupert v. Daggett,

695 F.3d 417,423(6th Cir. 2012); City ofCleveland v. Ameriquest Mortg. Sec., Inc.,

615 F.3d 496,502(6th Cir. 2010). When applying the substantive law ofthe forum

state, a federal court is bound to "follow the decisions of the state's highest court

when that court has addressed the relevant issue." Savedoff v. Access Group, Inc.,

524 F.3d 754,762(6th Cir. 2008). Even when the highest court has not addressed a

substantive issue, a federal court must "anticipate how the relevant state's highest

court would rule in the case and are bound by controlling decisions of that court."

Id. While seemingly apparent,the burden ofproofand the elements to sustain a claim


                                         ~7
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.208 Filed 05/03/19 Page 19 of 27




of negligence are substantive, such that a federal court must apply Michigan law.

See Rupert,695 F.3d at 423.

   II.      Defendants Had No Notice of the "Water" Plaintiff Alleges Caused
            Her Fall and Thus,Her Claim of Premise Liability Must be Dimissed

         First, Plaintiff's premises liability claim fails as she cannot prove that

Defendant had notice of this alleged condition of a "slippery floor" prior to her fall.

This Court must consider whether the Defendant had notice ofthe alleged condition

that Plaintiff surmises caused her fall in order for Plaintiff's claim to survive.

Whitmore v Sears Roebuck &Company, 89 Mich App 3, 379 NW2d 318 (1979),

citing Anderson v Merkel, 393 Mich 603, 227 NW2d 554(1975)and Suci v Minsky,

61 Mich App 398, 232 NW2d 417 (1975). Notice may be inferred from evidence

that the unsafe condition has existed for a length of time sufficient to have enabled

a reasonably careful person to discover it. Verbabian v S & C Snowplowing Inc, 249

Mich App 695, 644 NW2d 779 (2002), citing Hampton v Waste Management of

Michigan, Inc, 236 Mich App 598, 601 NW2d 172(1999) and Berryman v KMart

Corp, 193 Mich App 88,483 NW2d 642(1992).

         In Whitmore, the plaintiff brought suit as a result of a slip and fall accident

that occurred in the defendant's parking lot. The matter went to trial and a jury

awarded plaintiff a verdict in the amount of$30,000. Defendant appealed as ofright

to the Court of Appeals, stating that the plaintiff failed to show that the defendant

had actual or constructive notice of the condition.
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.209 Filed 05/03/19 Page 20 of 27




       The Court of Appeals reversed the trial court's entry ofjudgment in favor- of

the plaintiff and remanded the case to the trial court for entry of dismissal in favor

 of the defendant. In doing so, the Court of Appeals stated, "Where there is no

evidence to show that the condition had existed for a considerable time," summary

 disposition is appropriate. Whitmore, supra at 321. The Court then reviewed the

 plaintiffs proofs, and noted that the plaintiff did not establish circumstances "such

 as to take the case out of the realm of conjecture and into the field of legitimate

inferences from established facts." Id. at 321,citing Gadde vMichigan Consolidated

 Gas Company, 377 Mich 117, 139 NW2d 722(1966).

       Here, Plaintiff does not know how long the condition was present on the floor

 or if the restaurant was aware that the floor was allegedly slippery prior to her fall.

(Exhibit B, p. 41-42) The members of Plaintiff's party also were unable to state

 whether the restaurant was aware that the floor was "slippery" prior to Plaintiff's

fall. (Exhibit D, p. 14; Exhibit E, p. 18; Exhibit F, p. 12) Even more telling,

 employees of the Defendant have confirmed that they had no prior complaints of

 the door being slippery prior to Plaintiffs fall. (Exhibit C, p. 44, 53-54; Exhibit

H, p. 65, 82-83; Exhibit I, p. 7-8) As such, Plaintiff has produced no evidence of

 notice.

      "Where the burden ofproofat trial on a dispositive issue rests on a nonmoving

party, the nonmoving party may not rely on mere allegations or denials in pleadings,


                                           7
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.210 Filed 05/03/19 Page 21 of 27




but must go beyond the pleadings to set forth specific facts showing that a genuine

issue of material fact exists." Quinto v Cross &Peters Co., 451 Mich 358, 362

(1996). See also, Wheeler v Shelby Twp., 265 Mich App 657,663(2005). Here, the

Plaintiff has no evidence which will show that the alleged condition had been present

for a sufficient period of time so as to place the Defendants on notice. Plaintiff has

failed to come forth with any evidence that an unsafe condition existed for any

discernable amount oftime. Consequently, summary judgment is required.

    III.   Plaintiffs Claim is Based on Pure Speculation and not Admissible
           Evidence, Thus Warranting Summary Disposition

       In the alternative, Plaintiff's claim, on its face, must be dismissed because it

is based on pure speculation without admissible evidence. While a plaintiff may

show causation circumstantially, the mere happening of an event neither eliminates

 nor reduces a plaintiff's duty to effectively demonstrate causation. SkinneY v. Square

D Company 445 Mich. 153 (1994), citing Howe v. Michigan C.R.P., Co., 236 Mich.

577, 583 - 584 (1926). To be adequate, a Plaintiff's circumstantial proof must

facilitate reasonable inferences of causation, not mere speculation. Id. At a

 minimum, a causation theory must have some basis in established fact. Id.

However, a basis in only slight evidence is not enough. Id. Nor is it sufficient to

 submit a causation theory that, while factually supported, is, at best,just as possible

 as another theory:



                                           0
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.211 Filed 05/03/19 Page 22 of 27




            As a theory of causation, a conjecture is simply an
            explanation consistent with known facts or conditions, but
            not deducible from them as a reasonable inference. There
            may be 2 or more plausible explanations as to how an
            event happened or what produced it; yet, if the evidence is
            without selective application to any 1 ofthem,they remain
            conjectures only. On the other hand, if there is evidence
            which points to any 1 theory of causation, indicating a
            logical sequence of cause and effect, then there is a
            juridical basis for such a determination, notwithstanding
            the existence of other plausible theories with or without
            support in the evidence.

Id. Citing Kaminski v. Grand Trunk W.R. Co., 347 Mich. 417,422(1956). As such,

a plaintiff must present substantively admissible evidence from which a jury may

conclude that more likely than not, but for the defendant's conduct that plaintiff's

injuries would not have occurred.

      In Skinner, plaintiff brought a products liability action against a manufacturer,

alleging that a defective switch caused the electrocution of plaintiff's decedent.

During the discovery phase of that case, plaintiff failed to provide any evidence

supporting the theory that the switch had malfunctioned. Upon that basis, the

defendant moved for summary disposition pursuant to MCR 2.116(C)(10), claiming

plaintiffhad failed to remove the case from mere conjecture. The Trial Court granted

defendant's motion for summary disposition and plaintiff appealed.

      In affirming the Trial Court's grant of summary disposition, the Court of

Appeals first found that plaintiff failed to produce any evidence from which a jury

could reasonably conclude that their theory of liability was more probable than not.
                                          E
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.212 Filed 05/03/19 Page 23 of 27




             Of course, the Plaintiff's offered scenario is a possibility.
             However, so are countless others. As explained above,
             causation theories that are mere possibilities or, at most,
             equally as probable as other theories do notjustify denying
             Defendant's Motion for Summary Disposition.

Id. (emphasis in original) Upon that basis, the Court found that plaintiff did not

remove this theory of liability from mere conjecture and that summary disposition

was properly granted.

      Here, Plaintiff has failed to provide admissible evidence as why the floor was,

as she claims,"slippery" at the time of her fall. She has failed to provide any expert

opinions that the floor itself was in fact slippery. She has also failed to establish that

a substance was present on the floor that caused it to be slippery.

      Plaintiff's speculative theories ofcausation (i.e. that the floor itself was simply

too slippery) are just as plausible as another, equally possible scenario including that

Plaintiff slipped and fell due to the heels she was wearing or simply misstepped.

Consequently, even if Plaintiff can arguably create a causation theory (something

Defendant believes she cannot do)there are equally plausible theories which prevent

Plaintiff from ultimately succeeding in this matter. To rule otherwise would force

jury speculation at the time of trial, which is inappropriate under the circumstances.

As such, Plaintiff's case is based on pure improper speculation, Defendant

respectfully requests summary disposition be granted in its favor.




                                           10
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.213 Filed 05/03/19 Page 24 of 27




   IV.    Plaintiffs Claim Of Ne~li~ence Is Only A Premises Liability Claim

        Although Plaintiff has alleged two separate counts in her complaint of

negligence and premises liability, they are in fact one in the same. Where a plaintiff's

injury arises out of a condition present on a defendant's land, the action is one of

premises liability and nor ordinary negligence, even when the plaintiff alleges that

the defendant created the condition. Buhalis v. Trinity Continuing Care Sews., 296

Mich. App. 685; 822 NW2d 254 (2012); Jahnke v. Allen, 308 Mich. App. 472; 865

NW2d 49 (2014). As such, Plaintiff's claims of negligence and premises liability,

premised on the "slippery floor" present on the Defendant's property, is a claim on

premises liability only. Furthermore, Plaintiff has not alleged and there is no

admissible evidence to support a separate negligence claim as there was no

affirmative conduct on behalfofthe Defendant or its employees that led to Plaintiff's

alleged injuries. As such, Plaintiff's improper claim of negligence must be

dismissed.

   V.     Plaintiff s Claim Of Nuisance is Unsuppol•ted by the Evidence

        A public nuisance is an unreasonable interference with a common right

enjoyed by the general public. The term "unreasonable interference" includes

conduct that (1) significantly interferes with the public's health, safety, peace,

comfort, or convenience,(2) is proscribed by law, or (3) is known or should have

been known by the actor to be of a continuing nature that produces a permanent or


                                          11
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.214 Filed 05/03/19 Page 25 of 27




long-lasting, significant effect on these rights. Wagner v. Regency Inn Corp., 186

Mich App 158, 163, 463 NW2d 450(1990).

      "[T]he essential element of a nuisance is a wrongful, continuing, impending

danger to the lives or health of the public, or to the legitimate property or personal

rights of private persons peculiarly subject to the danger. A condition that is so

threatening as to constitute an impending danger to the public welfare is a nuisance."

Ypsilanti Chapter Twp. v Kircher, 281 Mich App 251, 761 NW2d 761 (2008).

Additionally, "nuisance is a condition and not an act or failure to act." Hobrla v

Glass, 143 Mich App 616, 372 NW2d 630 (1985).

      There is no evidence in this matter that supports an allegation that the

restaurant floor was a nuisance especially as the restaurant had received no prior

complaints that the floor was slippery and as no one else in Plaintiff's party slipped

or fell as a result of the floor allegedly being slippery. As such, there is nothing to

support this frivolous claim, and the restaurant floor of a busy and successful

restaurant cannot be classified as unreasonable interference with a common right

enjoyed by the general public. As such, summary judgment must be granted.

                         Conclusion and Relief Requested

      For the reasons stated in detail above, Plaintiff's claim is barred by binding

case law. Plaintiff's premises liability claims (and negligence claims which are one

in the same under the law) are barred as they are based on improper speculation and


                                          12
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.215 Filed 05/03/19 Page 26 of 27




have no admissible evidence to prove that the Defendant had notice of the alleged

condition that caused Plaintiff's fall. Furthermore, Plaintiff's claim of nuisance in

unsupported by any admissible evidence.

       WHEREFORE,the Defendant respectfully requests that this Honorable Court

grant its motion for summary judgment pursuant to Federal Rule 56, dismiss the

Plaintiff's case in its entirety and award any other relief that is appropriate and just

under the circumstances.

                                 SEGAL McCAMBRIDGE SINGER & MAHONEY

                                        By: /s/ Stephanie B. Burnstein
                                           DAVID J. YATES(P49405)
                                           ERIC P. CONK (P64500)
                                            STEPHANIE B. BURNSTEIN (P78800)
                                            Attorneys for Defendants
                                            39475 Thirteen Mile Road, Suite 203
                                            Novi, MI 48377
Dated: May 3, 2019                          (248)994-0060




                                          13
Case 2:18-cv-11613-SJM-APP ECF No. 28, PageID.216 Filed 05/03/19 Page 27 of 27




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

GEORGINA WILLIAMS,
                                               Case No. 2:18-cv-11613
             Plaintiff,                        Hon. Stephen J. Murphy, III


                                               Oakland County Circuit Court Case
OUTBACK STEAKHOUSE OF                          No. 18-165415-NO
FLORIDA,LLC,

                                               ORAL ARGUMENT REQUESTED

             Defendant.

 STEVEN A. LEE(P77013)                        DAVID J. YATES (P49405)
 CHRISTOPHER K. COOKE(P35034)                 ERIC P. CONK(P64500)
 NEUMANN LAW GROUP                            STEPHANIE B. BURNSTEIN (P78800)
 Attorney for Plaintiff                       SEGAL McCAMBRIDGE SINGER &
 300 E. Front Street, Ste. 445                MAHONEY
 Traverse City, MI 49684                      Attorneys for Defendant
(231)221-0050                                 39475 Thirteen Mile Road, Suite 203
 steve(a~neumannlaw~rou~.com                  Novi, MI 48377
 chris(a~neumannlawgroup.com                  (248)994-0060 (248)994-0061 [Fax]
 ruth~a~,neumannlaw~roup.com                  d~ates(a~smsm.com econn(cr~,smsm.com
                                              sburnstein(a,smsm.com


                              PROOF OF SERVICE

      The undersigned certifies that a copy of the foregoing instrument was served

on the attorneys ofrecord of all parties to the above cause via the Court's electronic

e-filing system on May 3, 2019.

                                       /s/Robyn Goldberg
                                       Robyn Goldberg


                                         14
